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                           8                              UNITED STATES DISTRICT COURT
                           9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                           11   SILLAGE, LLC, a California                  CASE NO.: 8:14-cv-2043-CAS-DFM
                                Limited Liability Company,
                           12                                                The Hon. Christina A. Snyder
                                                  Plaintiff,
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                                                                             [PROPOSED] ORDER OF
                                                  vs.                        DISMISSAL
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                                KENROSE PERFUMES INC.
                           15   D/B/A EUROPERFUMES, a New
                                York Corporation;                           Complaint Filed: December 23, 2014
                           16   FRAGRANCENET.COM, INC., a                   Discovery Cut-off: January 4, 2016
                                Delaware Corporation; and, LA               Trial Date: April 5, 2016
                           17   PEER BEAUTY, L.P., a California
                                Limited Partnership.
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                                                  Defendants.
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S TRADLING Y OCCA
C ARLSON & R AUTH
        LAWYERS
    S A N T A M O N IC A
                                                               [PROPOSED] ORDER OF DISMISSAL
                                LITIOC/2131223v1/101734-0105
              Case 8:14-cv-02043-CAS-DFM Document 67 Filed 02/03/16 Page 2 of 2 Page ID #:367


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                                        Pursuant to a confidential settlement agreement and the stipulation between
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                                Plaintiff Sillage, LLC and Defendants Kenrose Perfumes, Inc., FragranceNet.com,
                           3
                                Inc., and La Peer Beauty, L.P., this case is hereby dismissed with prejudice.
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                                        This Court hereby retains jurisdiction to enforce the settlement agreement
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                                for a period of two years from the date of dismissal.
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                                        IT IS SO ORDERED.
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                                DATED: February 3, 2016
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                                                                              Hon. Christina A. Snyder
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                                                                              United States District Judge
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S TRADLING Y OCCA
C ARLSON & R AUTH
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    S A N T A M O N IC A
                                                               [PROPOSED] ORDER OF DISMISSAL
                                LITIOC/2131223v1/101734-0105
